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                                                          UNITED STATES BANKRUPTCY COURT
                                                              FOR DISTRICT OF COLUMBIA
 In re:                                                                                                Case No.       1:23-bk-111
                                                                                                       Chapter 13

 Lena E. Ballard
                         Debtor 1
                                                                                                       Hearing Date: 12/15/2023

                                                                                                       Date of Plan: 09/29/2023
                         Debtor 2



                  CHAPTER 13 PLAN & NOTICE OF DEADLINE TO OBJECT TO CONFIRMATION
       Original Plan                           Amended Plan. Listed below are the parts              Modified Plan. Listed below are the parts of this Plan
                                           of this Plan that have been changed and the           that have been changed and the creditors affected by the
                                           creditors affected by the amendment.                  modification.

                                           The Plan provisions changed by this filing are:
                                           Section 3.4 (updating amount of tax claim); Section 8.1 (clarifying plan is fully conduit)

                                           Affected Creditors:
                                           DC Gov't Office of Tax and Revenue; Fay Servicing, LLC

Part 1. Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                           option is appropriate in your circumstances or that it is permissible in this judicial district. Plans that do not comply with local rules
                           and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. A proof of claim must be
                           filed to receive any payment from the Trustee.

                           You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
                           Bankruptcy Court. The Bankruptcy Court may confirm this Plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015.

                           The following matters may be of particular importance. The Debtor(s) must check one box on each line to state whether or not the
                           Plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the Plan.

 1.1              Nonstandard provisions, set out in Part 9.1.                              Included                              Not Included
 1.2              A limit on the amount of a secured claim, which may result in             Included                              Not Included
                  a partial payment or no payment at all to the secured creditor,
                  as set out in Part 5.4.
 1.3              Avoidance of a security interest or lien, as set out in Part 5.3.         Included                              Not Included

Part 2: Plan Payments and Length of Plan

2.1          The Debtor(s)’ future earnings are submitted to the supervision and control of the Chapter 13 Trustee, and the Debtor(s) will pay as
             follows:

      A.     $      1,700.00         per month for a term of           60.00   months. OR

      B.      $         per month for               month(s),

Local Official Form 14, Chapter 13 Plan for the District of Columbia                -1-
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                            $        per month for               month(s), and
                           $         per month for               month(s), for a total term of   60   months.

             The Debtor(s) must make monthly payments commencing no later than 30 days after the petition date.

2.2          Regular payments to the trustee will be made in the following manner (check all that apply):

                The Debtor(s) will make payments pursuant to a payroll deduction order. The Debtor(s) is/are responsible to make payments to the
             Trustee until any payroll deduction order is in effect.

                  The Debtor will make payments directly to the Trustee.

                  Other (specify method of payment)

2.3          Income Tax Returns and Refunds:

             Unless otherwise directed by the Chapter 13 Trustee, the Debtor(s) will supply to the Chapter 13 Trustee a copy of each income tax return that
             the Debtor(s) file(s) during the Plan term within 14 days of filing the return.

             Check one box:

                  The Debtor will retain any income tax refunds received during the Plan term.

                For each year during the Plan term, the Debtor(s) will turn over to the Trustee the amount of refund exceeding $          , not later than 30
             days after receipt. The tax refunds are in addition to, and not a credit against, the other payments required to be paid under the Plan.

2.4          Additional Payments:

             Check one box:

      None. If “None” is checked, the rest of Part 2.4 need not be completed.

   The Debtor(s) will make additional payments to the Trustee from other sources specified below. Describe the source, estimated amount, and date of
each anticipated payment.


2.5          The Total amount of estimated payments to the trustee provided for in Parts 2.1 and 2.4 is $102,000.00.

Part 3: Treatment of Administrative and Priority Claims

3.1          Trustee Commission. The Trustee’s fees are governed by statute and may change during the course of the case, not to exceed 10% of all
             amounts received under the Plan. The Trustee’s fee shall be paid under 11 U.S.C. § 1326(b)(2) and will make distributions in the order listed
             pursuant to Local Rule 3015-5 unless otherwise ordered by the Court. Any deviation from the order of distribution must be set forth in Part 9,
             Non-Standard Provisions. Allowed claims entitled to priority under 11 U.S.C. §§ 507(a)(1) and (2) will be paid in full. Any interest required
             to be paid on administrative claims for taxes shall be governed by 11 U.S.C. § 511.

3.2          Attorney Fees.

             Check one box:

                           Debtor(s)’ attorney has chosen to be compensated pursuant to the Presumptively Reasonable fee under Local Bankruptcy Rule
                           2016-5. The balance of fees owed to the Debtor(s)’ attorney is $ 1,750.00 .

                           Debtor(s)’ attorney has chosen to be compensated pursuant to a Fee Application and must submit the application as set forth in
                           Local Rule 2016-5. No fees will be paid absent order of the Court. The balance of fees owed to the Debtor(s)’ attorney is estimated
                           to be $      .

3.3          Domestic Support Obligations.

                  None. If “None” is checked, the rest of Part 3.3 need not be completed.

                           Allowed domestic support claims pursuant to § 507(a)(1) shall be paid prior to other priority creditors but concurrently
                           with administrative claims in Part 3.2 above. The total § 507(a)(1) domestic support claims are estimated to be $      .

                                     Name of Creditor                                                           Estimated Claim


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                           Domestic support payments under § 507(a)(1)(B) and paid less than full amount. Allowed domestic support claims assigned to or
                           owed to a governmental unit pursuant to 11 U.S.C. § 507(a)(1)(B) will be paid less than the full amount of the claim under 11
                           U.S.C. § 1322(a)(4). This Plan provision requires payments in Part 2.1 to be for a term of 60 months.

                     Name of Creditor                                      Estimated Claim                            Amount of Claim to be paid

3.4          Priority Claims other than Attorney Fees and Domestic Support Claims.

             The following priority creditors, defined by 11 U.S.C. §§ 507(a)(3)-(10), will be paid in full by deferred cash payments, pro rata with other
             priority creditors:

                  None. If “None” is checked, the rest of Part 3.4 need not be completed.

                                                  Priority Creditor                           Estimated Claim Amount
                                                  Office of Tax and Revenue                                                                            $1,716.43

Part 4: Treatment of Secured Claims

                  None. If “None” is checked, the rest of Part 4 need not be completed.

4.1          General Provisions: The terms and conditions included in this Part 4.1 apply to all remaining subjections of Part 4.

             If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor will be treated as
             unsecured for the purposes of distribution under the Plan.

             The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

             If relief from the automatic stay is ordered to a lienholder as to any item of collateral listed in this Part, then, unless otherwise ordered by the
             Court, all payments to said lienholder under Part 4 as to that collateral will cease. Unless the Court orders otherwise, the lienholder may
             amend a timely filed proof of claim to assert a claim for an unsecured deficiency claim remaining after enforcement of its lien as follows: (a)
             an amended proof of claim asserting an unsecured deficiency claim for a claim for which the collateral was real property shall be filed no
             later than 180 days after entry of the order granting relief; (b) an amended proof of claim asserting an unsecured deficiency claim for a claim
             for which the collateral was personal property (that is, anything other than real estate) shall be filed no later than 60 days after entry of the
             order granting relief.

4.2          Maintenance of Payment and Cure of Default, if Any, on Allowed Claims Secured by Real Property.

             Check one box:

                           None. If “None” is checked, the rest of Part 4.2 need not be completed.

                           The Debtor(s) will maintain by direct payments the current contractual installment payments on the secured claims listed below,
                           with any changes required by the applicable contract and notice in conformity with any applicable rules. Any existing arrearage on
                           a secured claim will be paid in full through disbursements by the Trustee. Unless otherwise ordered by the Court, the amount listed
                           on a filed proof of claim controls over any contrary amount listed below as to the arrearage.

                     Name of Creditor                                   Description of Collateral                   Estimated Amount of Arrearage

                  The Debtor(s) will maintain by payments disbursed by the Trustee the current contractual installment payments on the secured claims
                       listed below, with any changes required by the applicable contract and notice in conformity with any applicable rules. In addition,
                       any existing arrearage on a secured claim will be paid in full through disbursements by the Trustee. Unless otherwise ordered by the
                       Court, the amount listed on a filed proof of claim controls over any contrary amount listed below as to the arrearage.

        Name of Creditor                              Description of Collateral      Estimated Amount of Arrearage          Estimated Monthly Payment
 Fay Servicing LLC                                 3217 4th Street SE,                                  $40,965.97                              $336.87
                                                   Washington, DC 20032

4.3          Maintenance of Payment and Cure of Default, if Any, on Allowed Claims Secured by Property Other than Real Property.

             Check one box:

                           None. If “None” is checked, the rest of Part 4.3 need not be completed.

                           The Debtor(s) will maintain by direct payments to the creditors listed below the regular contract monthly payments that come due
                           during the period of this Plan. The pre-petition arrearages on such debts shall be cured by the Trustee pro rata with other secured
                           claims.


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            Name of Creditor                              Description of Collateral        Regular Contract Payment               Estimated Arrearage

                           The Debtor(s) will maintain by payments disbursed by the Trustee the regular contractual monthly payments to the creditors
                           listed below that come due during the period of this Plan, and pre-petition arrearages on such debts shall be cured by the Trustee pro
                           rata with other secured claims.

            Name of Creditor                              Description of Collateral        Regular Contract Payment               Estimated Arrearage

4.4          Secured Claims Paid Through Plan.

             Check one box:

                           None. If “None” is checked, the rest of Part 4.4 need not be completed.

                           The following secured claims will be paid in full through the Plan with interest at the rate stated below. These payments will be
                           disbursed by the Trustee.

       Name of Creditor                   Description of Collateral          Estimated Amount of           Interest Rate               Estimated Monthly
                                                                                    Claim                                                   Payment

4.5          The Debtor(s) will surrender collateral to the lienholder.

             Check one box:

                           None. If “None” is checked, the rest of Part 4.5 need not be completed.

                           The Debtor(s) will surrender the collateral listed below to the respective lienholder. Describe the collateral securing the claim.
                           Upon Plan confirmation, the automatic stay of 11 U.S.C. § 362(a) be terminated as to the collateral only and the co-debtor stay of 11
                           U.S.C. § 1301(a) terminates in all respects, if not terminated earlier, as to the collateral listed:

                                     Name of Creditor                                                        Description of Collateral

4.6          Secured Claims that are to be paid outside of the Plan.

             Check any applicable boxes:

                           None. If “None” is checked, the rest of Part 4.6 need not be completed.

                           The Debtor(s) will pay directly outside of the Plan all secured claims that are listed below, including any arrearages. The holder of
                           the claim shall retain its lien (or right of setoff) after completion of the Plan and entry of any discharge. The Debtor(s) shall begin
                           current contractual payments in the first month after the filing of the case.

                     Name of Creditor                                      Description of Collateral                        Estimated Arrearage

Part 5: Valuation of Security Interests and Treatment of Liens

                           None. If “None” is checked, the rest of Part 5 need not be completed.

5.1          General Provisions: The terms and conditions included in this Part 5.1 apply to all remaining subsections of Part 5.

             The Debtor(s) request(s) that the Court determine the value of the secured claims listed below. For each non-governmental secured claim
             listed below, the Debtor(s) state(s) that the value of the secured claim should be as set out in the column headed “Name of Creditor.” For each
             listed claim, the secured claim will be paid pursuant to Part 4.

             With respect to each allowed secured claim provided for in the Plan, the holder of such secured claim will retain the listed lien on the indicated
             property interest until the earliest of the following:

                           a)           Payment of the underlying debt determined under nonbankruptcy law, or
                           b)           Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
                                        creditor, or
                           c)           If the Debtor(s) cannot receive a discharge as provided in 11 U.S.C. § 1328(f), the notice of Plan Completion.

             If the case is dismissed or converted without completion of the Plan, liens shall also be retained by the holders to the extent recognized under
             applicable nonbankruptcy law.

5.2          Valuing a Claim or Avoidance of a Lien by Separate Motion or Adversary Proceeding.


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                           None. If “None” is checked, the rest of Part 5.2 need not be completed.

                           The Debtor(s) will seek valuation of a claim or avoidance of a lien through a separate motion or Adversary Proceeding. The amount
                           of the secured claim will be set by Court order, with the interest rate set forth below, unless the Court orders otherwise. The portion
                           of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 6 of this Plan to
                           the extent allowed.

                           For each claim listed, the value of the secured claim will be paid with interest in full through the Plan, at the valuation determined
                           by the Court.

 Name of Creditor                 Estimated                   Description of        Value of collateral Amount of Claims Secured Claim to           Interest Rate
                                 Amount of                     Collateral                                  Senior to     Be Paid Through
                               Creditor’s Claim                                                         Creditor’s Claim       Plan

5.3          Request for avoidance of a lien pursuant to 11 U.S.C. § 522(f) through the Plan.

                           None. If “None” is checked, the rest of Part 5.3 need not be completed.

                           The Debtor(s) seek(s) to value a claim or avoid a judicial lien and/or nonpossessory, non-purchase money security interest pursuant
                           to 11 U.S.C. § 522(f) through this Plan. The amount of the judicial lien or security interest that is avoided will be treated as an
                           unsecured claim in Part 6 of this Plan to the extent allowed. The amount, if any, of the judicial lien or security interest that is not
                           avoided will be paid in full under the Plan at the interest rate listed below.

                           If the lienholder has not filed a proof of claim, evidence of the following should be filed separately or as an exhibit to the Plan: (i)
                           the collateral’s value; (ii) the existence of all other liens; (iii) the amount of each debt secured by the collateral; and (iv) the name,
                           address, and nature of ownership of any non-debtor owner of the property. This supplemental material need only be served on
                           affected creditors and not on all creditors.

                           Insert additional claim boxes as needed.

 Information regarding judicial lien or                              Calculation of lien avoidance
 security interest
 Name of Creditor                                                    a. Amount of lien                                       $
                                                                     b. Amount of all other liens                            $
 Description of Collateral                                           c. Value of claimed exemptions                          $
                                                                     d. Total of adding lines a, b, and c                    $
 Lien identification                                                 e. Value of Debtor(s)’ interest in property             $
                                                                     f. Subtract line e from line d                          $

                                                                     Extent of exemption impairment
                                                                     (check applicable box)

                                                                         Line f is equal to or greater than line a. The
                                                                     entire lien is avoided.

                                                                         Line f is less than line a. A portion of the lien
                                                                     is avoided. (Complete the next part)
 Treatment of remaining secured claim:

 Amount of Secured Claim After Avoidance                                    Interest Rate (If Applicable):
           (Line a Minus Line f):

5.4          Request for valuation of security or avoidance of liens under § 506 through the Plan.

                           None. If “None” is checked, the rest of Part 5.4 need not be completed.

                           The Debtor(s) seek(s) to value a claim or avoid a lien under 11 U.S.C. § 506 through the Plan. If the lienholder has not filed a proof
                           of claim, evidence of the following should be filed separately or as an exhibit to the Plan: (i) the collateral’s value; (ii) the existence
                           of all other liens; (iii) the amount of each debt secured by the collateral; and (iv) the name, address, and nature of ownership of any
                           non-debtor owner of the property. This supplemental material need only be served on affected creditors and not on all
                           creditors.

                           The amount and interest rate of the claim is set as listed below or by superseding Court order. For each claim listed, the value of the
                           secured claim will be paid in full with interest at the rate listed below. The portion of any allowed claim that exceeds the amount of
                           the secured claim will be treated as an unsecured claim under Part 6 of this Plan to the extent allowed.

 Name of Creditor                   Estimated                 Description of        Value of collateral Amount of Claims Secured Claim to           Interest Rate
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                                 Amount of                       Collateral                               Senior to         Be Paid Through
                               Creditor’s Claim                                                        Creditor’s Claim           Plan

Part 6: Treatment of Nonpriority Unsecured Claims

6.1          Nonpriority unsecured claims not separately classified.

                           Allowed nonpriority unsecured claims that are not separately classified in Part 6.2 will be paid pro rata.
                           Approximately 0.00 % of the total amount of these claims, an estimated payment of $ 0.00 .

                           100% of allowed nonpriority unsecured claims that are not separately classified in Part 6.2, an estimated payment of $               .

             If the estate of the Debtor(s) was/were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
             Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

6.2          Other separately classified nonpriority unsecured claims. Check one.

                           None. If “None” is checked, the rest of Part 6.2 need not be completed.

                           The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

                     Name of Creditor                                              Basis for Separate                               Treatment
                                                                              Classification and Treatment

Part 7: Executory Contracts and Unexpired Leases

7.1.         The executory contracts and unexpired leases listed below are assumed and/or rejected as specified. All other executory contracts and
             unexpired leases are rejected. Check all that apply.

                           None. If “None” is checked, the rest of Part 7.1 need not be completed.

                           Executory contracts and unexpired leases to be rejected. The Debtor(s) reject the following executory contracts:

                                     Name of Creditor                                                                Type of Contract

             Any claim for rejection damages must be filed within 60 days from entry of the order confirming this Plan.

                           Executory contracts and unexpired leases to be assumed. The Debtor(s) assume the following executory contracts:

                     Name of Creditor                                              Type of Contract                                Cure Amount
                                                                                                                                   and Term(s)

Part 8. Miscellaneous

8.1          Adequate Protection Payments for Claims Secured by or Subject to a Lease of Personal Property.

                           None. If “None” is checked, the rest of Part 8.1 need not be completed.

                           Beginning not later than 30 days after the petition date and until the Plan is confirmed, the Debtor(s) will directly pay adequate
                           protection payments for claims secured by or subject to a lease of personal property for the Claims Listed Below. After
                           confirmation of the Plan, the claims will be paid under Part 4. Make sure to list the amount of the monthly payment the Debtor(s)
                           will pay before confirmation and list the last 4 digits only of the account number, if any, the lienholder uses to identify the claim.

            Lessor/Lienholder                                Property/Collateral                Acct. No (last 4 numbers)             Monthly Payment

8.2          Revesting Property of the Estate.

Property of the estate shall revest in the Debtor(s) upon:

             (a) the Debtor(s) is/are granted a discharge pursuant to 11 U.S.C. § 1328;
             (b) the Trustee files a notice of Plan completion if by reason of 11 U.S.C. § 1328(f) the Debtor(s) cannot receive a discharge; or
             (c) the case is dismissed.

8.3          Incurrence of Indebtedness.




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The Debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total of $5,000 principal amount during the term of this Plan,
whether unsecured or secured, except upon written notice and approval from the Trustee. Nothing herein shall prohibit the Debtor(s) from filing a
motion for Court approval indebtedness in any amount.

Part 9: Non-standard Provisions

9.1          Check “None” or List Nonstandard Plan Provisions.

                           None. If “None” is checked, the rest of Part 9.1 need not be completed.

                           Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
                           otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this Plan are ineffective.

The following Plan provisions will be effective only if there is a check in the box “Included” in Part 1.1:

The debtor intends to participate in the Mortgage Modification Program, as allowed by Local Rule 6004-3, and reasonably anticipates
such participation may afford an opportunity to materially alter the manner in which arrearage payments are addressed under this plan.
The debtor will seasonably amend this plan as appropriate.


Part 10: Signatures

10.1         Signatures of Debtor(s) and Debtor(s)’ Attorney.

The Debtor(s)’ signature(s) below certify(ies) that the Plan provisions above are all the terms proposed by the Debtor(s), and the Debtor(s) has/have
read all the terms.

 X/s/ Lena E. Ballard                                                                        X
 Lena E. Ballard                                                                             Signature of Debtor 2
 Signature of Debtor 1                                                                       Executed on
 Executed on September 29, 2023

 X/s/ Maurice Verstandig                                                           Date     September 29, 2023
 Maurice Verstandig
 Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), and if represented by an attorney the Attorney for Debtor(s) also certify(ies) that the wording and order of the
provisions in this Chapter 13 Plan are identical to those contained in Local Form 14, other than any nonstandard provisions included in Part 9.1.




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                                              CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN
Check all that apply:

   AMENDED PLANS ONLY INCREASING PAYMENTS: The Amended Chapter 13 Plan                                filed herewith /    filed on       makes no
changes from the last previously-filed Plan other than to increase the amount payable under the Plan. In such event, no service is required.

     A separate certificate of service shall be filed pursuant to Federal Rule of Bankruptcy Procedure 7004.

     I certify that on             I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service List.

                                                                                      /s/ Maurice Verstandig
                                                                                      Signature of attorney/pro se party
                                                                                      Maurice Verstandig
                                                                                      Name, Bar Number (if applicable)
                                                                                      The Belmont Firm
                                                                                      Firm (if applicable)
                                                                                      1050 Connecticut NW
                                                                                      Suite 500
                                                                                      Washington, DC 20036
                                                                                      Address

                                                                                      Telephone
                                                                                      mac@mbvesq.com
                                                                                      Email Address


 -NONE-,




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